           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       BRYSON CITY DIVISION

                         CRIMINAL NO. 2:08CR36


UNITED STATES OF AMERICA                )
                                        )
                                        )
                  VS.                   )           ORDER
                                        )
                                        )
DANIEL LEE REED                         )
                                        )


     THIS MATTER is before the Court on the Defendant’s motion for

severance and the Government’s response in support of the motion. See

Defendant’s Motion for Severance, filed March 2, 2009; Government’s

Response to Defendant’s Motion to Sever, filed March 13, 2009.

     The Government agrees with the Defendant that there would be

Bruton1 issues if a trial were held involving both Defendants Reed and

Bigwitch. Government’s Response, at 4. However, a ruling on the

severance motion is unnecessary in view of the guilty plea entered by the

Defendant Bigwitch before the Magistrate Judge this date. See Rule 11

Inquiry and Order of Acceptance of Plea (as to Danielle Bigwitch),


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         Bruton v. United States, 391 U.S. 123 (1968).


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filed March 17, 2009, at 3 (pled guilty to second degree murder, a

lesser included offense charged in Count One of the indictment).

     IT IS, THEREFORE, ORDERED that the Defendant’s motion for

severance is hereby DENIED as moot.

                                   Signed: March 17, 2009




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